                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN


JERPAUL D. SPENCER,

                           Plaintiff,

v.                                                     Case No. 16-CV-662

CITY OF MILWAUKEE, ED FLYNN,
MICHAEL VAGNINI, JACOB KNIGHT,
JEFFREY CLINE, PAUL MARTINEZ,
GREGORY KUSPA, JESSE BUSSHARDT,
MICHAEL VALUCH, and KEITH GARLAND,

                           Defendants.


     BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION TO REOPEN
         DISCOVERY FOR CERTAIN REBUTTAL DISCOVERY


      Defendants, by their attorney, Grant F. Langley, City Attorney, by

Assistant City Attorney Naomi E. Gehling, file this brief in opposition to

Plaintiff’s Motion to Reopen Discovery for Certain Rebuttal Discovery. (Docket

#89). Plaintiff seeks to reopen discovery in an action that has been pending before

this court for more than two years and which has received multiple discovery

extensions already. Defendants object to any further extension of discovery in this

matter for the following reasons and ask the Court to deny Plaintiff’s motion.

                                BACKGROUND

      This case involves Plaintiff’s claims against numerous MPD officers for

illegal searches and seizures. Plaintiff brings a Monell claim against the City of




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Milwaukee and former Chief Edward Flynn alleging a longstanding policy or

custom of allowing illegal searches and seizures. Additionally, Plaintiff brings a

claim against former Chief Flynn in his individual capacity for his own actions or

inactions. (Screening Order, Docket #13 at 6). Plaintiff currently seeks to reopen

discovery in order to obtain material of which he is already in possession and

material he had an opportunity to ask for with his previous three requests for

production but failed to do so.

                              LEGAL STANDARD

       Federal Rule of Civil Procedure 26(b)(1), which governs the general scope

of discovery, allows parties to obtain discovery regarding any matter, not

privileged, which is relevant to the claim or defense of any party. The 2015

amendments to Rule 26(b)(1) expressly reasserted the concept of “proportionality”

in Rule 26(b)(1) by adding the following language to Rule 26(b)(1) requiring that

discovery be:

       [P]roportional to the needs of the case, considering the importance of the
       issues at stake in the action, the amount in controversy, the parties’ relative
       access to relevant information, the parties’ resources, the importance of the
       discovery in resolving the issues, and whether the burden or expense of the
       proposed discovery outweighs its likely benefit.

       Further, the comments to the 2015 amendments indicate that the 2015

amendment of Rule 26(b)(1) adding the above language “restores the

proportionality factors to their original place in defining the scope of discovery.

This change reinforces the Rule 26(g) obligation of the parties to consider these

factors in making discovery requests, responses, or objections.” Fed. R. Civ. P.

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26(b)(1), Advisory Committee Notes, 2015 Amendment.

       The Court has broad discretion when deciding whether to compel

discovery. See Patterson v. Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir.

2002) (citing Packman v. Chi. Tribune Co., 267 F.3d 628, 646–47 (7th Cir. 2001).

Relevancy is “construed broadly to encompass any matter that bears on, or that

reasonably could lead to other matter that could bear on, any issue that is or may

be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct.

2380, 57 L. Ed. 2d 253 (1978) (citing Hickman v. Taylor, 329 U.S. 495, 501, 67 S.

Ct. 385, 91 L. Ed. 451 (1947)). A party objecting to the discovery request bears

the burden of showing why the request is improper. See McGrath v. Everest Nat.

Ins. Co., 625 F. Supp. 2d 660, 670 (N.D. Ind. 2008).

                                  DISCUSSION

I.     Defendants have already turned over documentation responsive to two
       of Plaintiff’s additional requests.

       Plaintiff requests the following information: “1.) Production of all (Yellow

FI Cards- Forms PF-4) for Plaintiff written by any officer in District 5 from 2009-

2011,” and “2.) Production of all supervisors approval of strip searches, body

cavity searches, and hospital placement for the Plaintiff from 2009-2011.” The

requested information, if it exists at all, has already been produced to Plaintiff in

response to his second requests for production, Response No. 1, which Plaintiff

acknowledged receipt of in his April 10, 2018 letter. Defendants produced all

documents related to the events that form the basis for Plaintiff’s complaint (MPD


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JER00043-103) and all documents related to any additional incidents in which the

MPD had contact with the Plaintiff (MPD JER00162-1030). If there were any

field investigation cards completed for Plaintiff, those would have been entered

into the record management system by a clerk and the subsequent report would

have been included in the production. Any supervisor’s approval of any strip or

body cavity searches would likewise have been included, if any existed. However,

the undersigned counsel notes that police officers do not need supervisory

approval to bring a subject to the hospital, so no such approvals have been

produced. Notation of the hospital visit would likely be noted in other reports,

which were turned over.

       Additionally, the timeframe for the requested information and documents is

overbroad because it extends past the events at issue in this case. In order for a

municipality to be liable for a Monell claim, the unconstitutional policy or practice

must have actually caused the plaintiff’s injury. See Dixon v. Cty. of Cook, 819

F.3d 343, 348 (7th Cir. 2016) (discussing that a Monell plaintiff must

“demonstrate that the entity’s official policy, widespread custom, or action by an

official with policy-making authority was the “‘moving force’” behind his

constitutional injury”). Here, Plaintiff alleges that the City’s illegal customs or

policies caused him constitutional harm in June and July of 2011. (See Screening

Order, Docket #13 at 3-4). As such, any police misconduct that occurred after July

2011 could not possibly have caused Plaintiff’s injury, and all such misconduct

complaints are therefore irrelevant to the issues in this case.

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II.    Plaintiff had the opportunity to request the remaining information but
       failed to do so.

       Although the scope of discovery is broad, the Seventh Circuit, however, has

often warned that “discovery is not to be used as a fishing expedition.” E.E.O.C. v.

Harvey L. Walner & Associates, 91 F.3d 963, 971–72 (7th Cir. 1996). That is

what Plaintiff is attempting to do here – further drag out his fishing expedition.

       Although Plaintiff repeatedly claims that he is unable to properly conduct

discovery because he is proceeding pro se in this matter, he has succeeded in

arguing for the Court to allow him additional discovery, and even succeeded in

requiring Defendants to produce all discovery to him at no cost.              He has

propounded three separate sets of discovery already, including personnel

information for the individual defendants, which was produced.            Defendants

should not be further subject to discovery because Plaintiff forgot to ask for

something that he had many opportunities to ask for but did not.

III.   Plaintiff’s additional requests are irrelevant, and therefore, fail the
       proportionality test.

       Furthermore, Plaintiff’s request for training records regarding use of force

an field interviews have nothing to do with the claims in this case. Courts have

continually recognized the need to limit discovery to the specific information at

issue in the case. See Grayson v. Dewitt, No. 1:15-CV-453, 2016 WL 5801699, at

*6 (M.D. Pa. Oct. 5, 2016) (in context of Monell claim, court finding that

“discovery should be tailored to the perceived deficiency in police training or

conduct, in this case allegations of the use of excessive force”); Centeno v. City of

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Fresno, No. 1:16-CV-653-DAD-SAB, 2016 WL 7491634, at *10 (E.D. Cal. Dec.

29, 2016) (limiting Monell discovery scope by finding “the use of force in using

manual restraint is not sufficiently similar to be discoverable in this action which

involves a police shooting”); Cathey v. City of Vallejo, No. 2:14-cv-01749-JAM-

AC, 2016 WL 792783, at *1, 5 (E.D. Cal. March 1, 2016) (in action alleging non-

deadly excessive force used during arrest, discovery was limited to complaints of

non-lethal excessive force involving conduct alleged to have occurred while an

arrestee was in police custody); Harbridge v. Yates, 2015 WL 8213561, at *2

(E.D. Cal. Dec. 8, 2015) (request for discovery on demotion due to alleged sexual

harassment has no relation to excessive force action).

       For example, in Grayson, the plaintiff brought the following claims against

defendant police officers: use of excessive force, failure to intervene and prevent

the use of excessive force, supervisory and municipal liability. Grayson, 2016 WL

5801699, at *1. In ruling on a motion to compel, the court recognized that citizen

complaints, internal affair investigations, and disciplinary findings have “some

relevance to Monell claims if they reveal an endemic pattern or problem requiring

municipal action.” Id. at *6. However, the court expressly found that discovery

should be tailored to the “perceived deficiency in police training or conduct” and

that principles of proportionality required “topical limitations” pertaining to the

specific issue of the case. Id.

       Applying that logic here, Plaintiff’s request is not proportional because it

extends beyond the specific issues of this case. The request is not tailored to

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information regarding illegal searches and seizures—the only issues in the case

alleged to have caused Plaintiff injury. Plaintiff’s request is essentially a fishing

expedition to discover any instances of MPD misconduct that bear little relevance

to the specific issues of this case.

                                       CONCLUSION

        Plaintiff’s discovery request is overbroad because it seeks largely irrelevant

information and it is not proportional to the needs of this case. As such, the Court

should deny the motion to compel.

        Dated at Milwaukee, Wisconsin this 20th day of August, 2018.



                                                  GRANT F. LANGLEY
                                                  City Attorney


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